         Case 3:10-cr-04644-JAH                        Document 121                 Filed 04/10/13               PageID.328              Page 1 of 4


     'AO 245B (CASD) (Rev_ 8111)    Judgment in a Criminal Case
                Sheet 1



                                               UNITED STATES DISTRICT CO~t8i~ Pi': 4: 49
                                                   SOUTHERN DISTRICT OF CALIFORNLA , -                                                           ­

                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committl<:t'6rrorAfter-November I, ;19(87)

                           Jacob Ysmael Boucon -2                                   Case Number: IO-cr-04644-JAH-2

                                                                                    Alex L Landon
                                                                                    Defendant's Attorney
    REGISTRATION NO. 45627048

    o
    THE DEFENDANT:
                                     O n~e_o.....f_t_h_e.....in~d.....i_ctm_en_t.
    !8\ pleaded guilty to count(s) ..........                               ..... _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                           Nature of Offense                                                                             Number(s)
18:371; 26:5812; 26:5861               Conspiracy to Transfer Firearms to Out-of-State Resident and Transfer a                              I
(e); 26:5871; I8:924(d);               Firearm in Violation of the National Firearms Act; Criminal Forfeiture
28:2461(c)




        The defendant is sentenced as provided in pages 2 through _ _...:4___ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The detendant has been found not guilty on count(s)
                                                             -------------------------------------------------
 !8\ Count(s)_re_m_a_in_i_ng"'-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is        0 are!8\ dismissed on the motion ofthe United States.
 !8\ Assessment: $100.00.




 o   Fine waived                                    o    Forfeiture pursuant to order filed                                     , included herein.
                                                                                                  ---------------
       IT IS ORDERED that the defendant shall notilY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notilY the court and United States attorney of any material change in the defendant's economic circumstanees.

                                                                                      8,2013




                                                                                   !TED STATES DISTRICT JUDGE

                                                                                                                                           10-cr-04644-JAH-2
       Case 3:10-cr-04644-JAH                      Document 121                Filed 04/10/13              PageID.329                Page 2 of 4


AO 245B (CASD) (Rev.8/11) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment-Page       2     of        4
DEFENDANT: Jacob Ysmael Boucon-2                                                                      II
CASE NUMBER: lO-cr-04644-JAH-Z
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
Five years.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements wiJI not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a rrrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check ifapplicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          !fthis judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       ST ANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shaH report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and fol1ow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shaH work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controHed
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any petsons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as. di!ected by the probation. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         cnmtnal record or personal hIstory or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.


                                                                                                                                     lO-cr-04644-JAH-2
          Case 3:10-cr-04644-JAH                      Document 121           Filed 04/10/13            PageID.330           Page 3 of 4


       AO 2458 (CASD) (Rev_ 8111) Judgment in a Criminal Case
                  Sheet 'I -- Special Conditions
                                                                                                         Judgment-Page   --L- of _--,4_ __
       DEFENDANT: Jacob Ysmael Boucon-2                                                            o
       CASE NUMBER: lo..cr-04644-JAH-2




                                             SPECIAL CONDITIONS OF SUPERVISION
[81 Submit person, residence, office or vehicle to a ~e~rch, conducted by a U~ited States ~rob~tion Officer ?~ a reasonable ti~e and in a .
    reasonable manner, based upon reasonable SuspIcIOn of contraband or eVidence of a vIOlatIOn of a conditIon of release; faIlure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24      hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
[81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendcred in an amount to be determined by the probation officer, based on the defendant's ability to pay.

[81 Comply with the conditions of the Home Confinement Program for a period of 18             months and remain at your residence except for
     activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow procedures
     specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the probation
     officer.




                                                                                                                                1O-cr·04644-JAH·2
     Case 3:10-cr-04644-JAH                         Document 121       Filed 04/10/13          PageID.331             Page 4 of 4




A0245S      Judgment in Criminal Case
            Sheet 5   Criminal Monetary Penalties

                                                                                                 Judgment   Page     4       of   4

DEFENDANT: Jacob Ysmael Boucon                                                             a
CASE NUMBER: 1O-cr-04644-JAH-2

                                                                   FINE

     The defendant shall pay a fine in the amount of _ _ _ _$_1_5,_0_0_0____unto the United States of America.




         This sum shall be paid __ immediately.
                                 " as follows:

         forthwith or through the Inmate Financial Responsibility Program at the rate of $25 per quarter during the period
         of incarceration, with the payment of any remaining balance to be made following the defendant's release from
         prison at the rate to be determined by the Probation Officer.




         The Court has determined that the defendant does not        have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


   __ The interest is modified as follows:




                                                                                                10-cr-04644-JAH-2
